                                                                  Case 2:12-cv-00738-GMN-NJK Document 61 Filed 06/03/14 Page 1 of 3



                                                              1   HOFLAND & TOMSHECK
                                                                  Joshua Tomsheck, Esq.
                                                              2   State Bar of Nevada No. 009210
                                                                  josht@hoflandlaw.com
                                                              3   228 South 4th Street, 1st Floor
                                                                  Las Vegas, Nevada 89101
                                                              4   (702) 895-6760
                                                              5   (702) 731-6910 facsimile
                                                                  Attorneys for Plaintiff
                                                              6
                                                                                          IN THE UNITED STATE DISTRICT COURT
                                                              7                               FOR THE DISTRICT OF NEVADA

                                                              8    GABRIEL L. GRASSO, ESQ., an Individual;        Case No.: 2:12-cv-00738-GMN-NJK
                                                                   doing business as GABRIEL L. GRASSO,
                                                              9    P.C., a Nevada Corporation
                                                             10                         Plaintiffs,
                                                             11   vs.
                     P: (702) 895-6760  F: (702) 731-6910
                     228 SOUTH FOURTH ST., FIRST FLOOR
HOFLAND & TOMSHECK




                                                             12    YALE L. GALANTER, ESQ. an Individual;
                          LAS VEGAS, NEVADA 89101




                                                                                                                  JOINT STIPULATION OF       VOLUNTARY
                                                             13    doing business as YALE L. GALANTER,            DISMISSAL WITH PREJUDICE
                                                                   P.A., a Florida Corporation; and , DOES I
                                                             14    through X and ROE CORPORATIONS I
                                                                   through X, inclusive,
                                                             15
                                                                                        Defendants.
                                                             16

                                                             17
                                                                         COMES NOW, Plaintiffs, GABRIEL L. GRASSO, ESQ., an Individual; doing
                                                             18
                                                                  business as GABRIEL L. GRASSO, P.C., a Nevada Corporation, (“Plaintiffs”), by and
                                                             19
                                                                  through their attorney of record, Joshua Tomsheck, Esq., of the law firm of Hofland &
                                                             20
                                                                  Tomsheck and Defendants YALE L. GALANTER, ESQ. an Individual pro se; doing
                                                             21
                                                                  business as YALE L. GALANTER, P.A., a Florida Corporation, by and through their
                                                             22
                                                                  attorney of record, Lester Paredes, Esq. and, pursuant to the parties May 22, 2014
                                                             23
                                                                  settlement
                                                             24
                                                                  ///
                                                             25
                                                                  ///
                                                             26
                                                                  ///
                                                             27

                                                             28

                                                                                                           Page 1 of 3
                                                                  Case 2:12-cv-00738-GMN-NJK Document 61 Filed 06/03/14 Page 2 of 3



                                                              1   agreement and Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, stipulate to a

                                                              2   voluntary dismissal of all claims asserted, with prejudice, in the above encaptioned

                                                              3   matter, with each party to bear its own costs, fees and expenses.

                                                              4

                                                              5         DATED: June 3, 2014

                                                              6

                                                              7
                                                                   Respectfully Submitted,                           Respectfully Submitted,
                                                              8
                                                                   HOFLAND & TOMSHECK                                LESTER M. PAREDES, ESQ.
                                                              9

                                                             10            /s/ J.Tomsheck_____________                       /s/ L. Parades
                                                                   Joshua Tomsheck, Esq.                             Lester M. Paredes, Esq.
                                                             11    Nevada Bar No. 009210                             Nevada Bar No. 006793
                                                                   228 South 4th Street,                             521 S. Sixth St.
                     P: (702) 895-6760  F: (702) 731-6910
                     228 SOUTH FOURTH ST., FIRST FLOOR
HOFLAND & TOMSHECK




                                                             12    Las Vegas, Nevada, 89101                          Las Vegas, Nevada 89101
                          LAS VEGAS, NEVADA 89101




                                                                   Tel. (702) 895-6760 – Fax: (702) 731-6910         Tel. (702) 605-0234 – Fax (702) 938-8661
                                                             13    Attorney for Plaintiff                            Attorneys for Defendant Yale Galanter, P.A.
                                                             14
                                                                                                                     Respectfully Submitted,
                                                             15
                                                                                                                     YALE GALANTER, ESQ.
                                                             16

                                                             17                                                              /s/ Y. Galanter_
                                                                                                                     Yale Galanter
                                                             18                                                      19955 N.E. 38 Court
                                                                                                                     Aventura, Florida 33180
                                                             19                                                      Tel. (302) 575-0244
                                                                                                                     Defendant Pro Se
                                                             20

                                                             21

                                                             22

                                                             23

                                                             24

                                                             25

                                                             26

                                                             27

                                                             28

                                                                                                               Page 2 of 3
                                                                  Case 2:12-cv-00738-GMN-NJK Document 61 Filed 06/03/14 Page 3 of 3



                                                              1                                  CERTIFICATE OF SERVICE

                                                              2           I HEREBY CERTIFY that on the 3rd day of June, 2014, the undersigned served the

                                                              3   foregoing Motion on all counsel herein by causing a true copy thereof to be filed with the

                                                              4   Clerk of Court using the CM/ECF system, which was served via electronic transmission by

                                                              5   the Clerk of Court pursuant to local order.

                                                              6

                                                              7
                                                                                                           __/s/ LB________________________________
                                                              8
                                                                                                           An Employee of Hofland & Tomsheck
                                                              9

                                                             10

                                                             11
                     P: (702) 895-6760  F: (702) 731-6910
                     228 SOUTH FOURTH ST., FIRST FLOOR
HOFLAND & TOMSHECK




                                                             12
                          LAS VEGAS, NEVADA 89101




                                                             13

                                                             14

                                                             15

                                                             16

                                                             17

                                                             18

                                                             19

                                                             20

                                                             21

                                                             22

                                                             23

                                                             24

                                                             25

                                                             26

                                                             27

                                                             28

                                                                                                           Page 3 of 3
